
PER CURIAM.
Appellant appeals the trial court's denial of his Florida Rule of Criminal Procedure 3.800 motion for postconviction relief in Lake County Circuit Court Case No. 1973-CF-122. We affirm the trial court's order and caution him that abusive, repetitive, malicious, or frivolous filings directed to the identified lower court case number may result in sanctions such as a bar on pro se filing in this Court and referral to prison officials for disciplinary proceedings, which may include forfeiture of gain time. See § 944.279(1), Fla. Stat. (2018) ; State v. Spencer , 751 So.2d 47 (Fla. 1999).
AFFIRMED.
EISNAUGLE, GROSSHANS and SASSO, JJ., concur.
